






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00529-CV







In re N. M.







ORIGINAL PROCEEDING FROM TRAVIS COUNTY





M E M O R A N D U M   O P I N I O N


	Relator N. M. has filed a petition for writ of mandamus, complaining of the
trial&nbsp;court's temporary order related to child custody.  See Tex. R. App. P. 52.8.  Having reviewed
the record, we deny the petition for writ of mandamus.


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Pemberton and Waldrop

Filed:   September 18, 2009


